Case 18-30849 Document 30 Filed in TXSB on 03/29/18 Page 1 of 9




                                                                  ENTERED
                                                                  03/29/2018




                            (Docket No. 26)
Case 18-30849 Document 30 Filed in TXSB on 03/29/18 Page 2 of 9
Case 18-30849 Document 30 Filed in TXSB on 03/29/18 Page 3 of 9
Case 18-30849 Document 30 Filed in TXSB on 03/29/18 Page 4 of 9
     Case 18-30849 Document 30 Filed in TXSB on 03/29/18 Page 5 of 9




Signed: March 29, 2018.

                                  ____________________________________
                                  DAVID R. JONES
                                  UNITED STATES BANKRUPTCY JUDGE
Case 18-30849 Document 30 Filed in TXSB on 03/29/18 Page 6 of 9
Case 18-30849 Document 30 Filed in TXSB on 03/29/18 Page 7 of 9
Case 18-30849 Document 30 Filed in TXSB on 03/29/18 Page 8 of 9
Case 18-30849 Document 30 Filed in TXSB on 03/29/18 Page 9 of 9
